Committee of
Concerned
Scientists

August 4, 2021

Hon. Thomas A. Varlan
United States District Judge
United States District Court
Eastern District of Tennessee
800 Market Street, Suite 143
Knoxville, TN 37902

Your Honor:

The Committee of Concerned Scientists (CCS) is an
independent organization of scientists, physicians,
engineers, and scholars devoted to the protection
and advancement of human rights and academic
freedom for colleagues all over the world.

We write to express our concern about what
appears to be an overzealous prosecution of Dr.
Anming Hu, former University of Tennessee
Professor for his alleged concealment of his
affiliation with Beijing University of Technology
while receiving funding from NASA. Our
understanding is that the U.S. Government has
failed to prove charges against Dr. Hu beyond
reasonable doubt, which resulted in a hung jury
and mistrial declared by you in June of this year. It
is also our understanding that on July 30 the
Government filed a Notice of Intent to Pursue a
Retrial of Dr. Hu.

The facts of the case that have appeared in press
reports suggest that numerous serious missteps
have been made by government agents and by the
administration of the University of Tennessee in
the course of the investigation — which, if true, may
well deserve investigations of their own. Dr. Hu’s

treatment by the Government and by the University

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of Tennessee, which has inflicted enormous
damage on him and his family, appears to be
disproportionate to his violations, if any.

In the opinion of CCS, the case of Dr. Hu and many
similar cases tried in the U.S. in recent years stem
to a large degree from the failure of the government
to clearly spell out rules related to foreign
collaborations on unclassified research and the
differences of these rules for different countries.
Chinese American researchers have been
disproportionately affected by this failure.

We understand that U.S. authorities are concerned,
sometimes with justification, about efforts by
Chinese authorities to illegally obtain information
of a commercial or research nature using a variety
of means, sometimes involving persons of Chinese
nationality or origin and sometimes involving
persons of other nationalities. We certainly do not
condone such illegality, should it occur. However,
we also do not condone the use of prosecutorial
means that are themselves questionable and
overzealous to the point utterly inappropriate and
perhaps even constituting prosecutorial
misconduct.

The CCS is especially concerned about the case of
Dr. Anming Hu and similar cases of Chinese-
American scientists because of our advocacy on
behalf of unfairly prosecuted scientists in countries
that, unlike our country, do not have independent
courts.

We respectfully ask that you ensure fairness in the
case of Dr. Hu. If government agents and
administration of the University of Tennessee acted
in bad faith, we expect you to say so as Judge

James Parker did in the case of Los Alamos

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scientist Wen Ho Lee. This would prevent such
cases from happening elsewhere.

Sincerely,

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Joel L. Lebowitz, Paul H. Plotz, Walter Reich,
Eugene M. Chudnovsky, Alexander Greer
Co-Chairs, Committee of Concerned Scientists

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® Carol Valoris
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